     Case 2:85-cv-04544-DMG-AGR Document 1207 Filed 11/29/21 Page 1 of 5 Page ID
                                     #:45975



 1   CENTER FOR HUMAN RIGHTS &
 2   CONSTITUTIONAL LAW
     Peter A. Schey (Cal. Bar No. 58232)
 3   Carlos Holguín (Cal. Bar No. 90754)
 4   256 South Occidental Boulevard
     Los Angeles, CA 90057
 5   Telephone: (213) 388-8693
 6   Facsimile: (213) 386-9484
     Email:pschey@centerforhumanrights.org
 7
           crholguin@centerforhumanrights.org
 8
 9   Listing continues on next page
10
     Attorneys for Plaintiffs
11
12
                           UNITED STATES DISTRICT COURT
13
                         CENTRAL DISTRICT OF CALIFORNIA
14
                                    WESTERN DIVISION
15
16
17    JENNY LISETTE FLORES., et al.,              Case No. CV 85-4544-DMG-AGRx
18
                      Plaintiffs,                 PLAINTIFFS’ NOTICE RE NON-
19                                                RECEIPT OF CLASS MEMBER
            v.                                    OBJECTIONS
20
21    MERRICK B. GARLAND, Attorney                [DOC. ## 1183 AND 1186]
      General of the United States, et al.,
22
23                    Defendants.

24
                                                  [HON. DOLLY M. GEE]
25
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                                     #:45976



 1   Attorneys for Plaintiffs continued:
 2
 3   USF SCHOOL OF LAW IMMIGRATION CLINIC
 4   Bill Ong Hing (Cal. Bar No. 61513)
     2130 Fulton Street
 5   San Francisco, CA 94117-1080
 6   Telephone: (415) 422-4475
     Email: bhing@usfca.edu
 7
 8
 9
     LA RAZA CENTRO LEGAL, INC.
10   Stephen Rosenbaum (Cal. Bar No. 98634)
11   474 Valencia Street, #295
     San Francisco, CA 94103
12   Telephone: (415) 575-3500
13
14
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     Case 2:85-cv-04544-DMG-AGR Document 1207 Filed 11/29/21 Page 3 of 5 Page ID
                                     #:45977



 1
           Plaintiffs and Defendants have reached a settlement to resolve Plaintiffs’
 2
 3   Motion for Award of Attorneys’ Fees and Costs under the Equal Access to Justice
 4
     Act (“EAJA”), 28 U.S.C. § 2412(d). ECF 708 [Doc. ## 708 and 1183.]
 5
 6         Consistent with Federal Rule of Civil Procedure 23(e), the parties submitted

 7   a joint proposal for providing notice of the settlement agreement to Flores Class
 8
     Members. Attached as Exhibit 2 to the Joint Stipulation. [Doc. # 1183-2.]
 9
10         The Court thereafter approved the proposed Class Notice (“Order”) and
11
     ordered that it be posted at all U.S. Customs and Border Protection facilities in the
12
13   Rio Grande Valley Sector of the U.S. Border Patrol and at all U.S. Immigration and
14   Customs Enforcement family residential centers in areas where class members and
15
     their accompanying adult relatives could see the Notices. [Doc. # 1186.]
16
17         Within twenty (20) days of the date of the Order, Defendants posted the
18
     approved Notice in English and Spanish as required by the Order. The notice period
19
20   ran for thirty (30) days.
21
           Since the posting of the Class Notice, Plaintiffs’ counsel has not received any
22
23   objections from any Class Members or their parents.1

24
25
26   1
      The Order required that Plaintiffs file this notice fifty (50) days after the date of
     the Order. Because of the pandemic and staff associated with Plaintiffs’ counsel
27
     largely working from home, and to provide for possible slowdowns in the sending
28   or delivery of mail, Class Counsel has waited a few additional days before filing
     this Notice.

                                                3
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 1   Dated: November 29, 2021          Respectfully submitted,
 2
 3                                      /s/ Peter Schey
                                       PETER SCHEY
 4
                                       Center for Human Rights &
 5                                     Constitutional Law
 6                                     256 South Occidental Boulevard
                                       Los Angeles, California 90057
 7                                     Tel: 323-251-3223
 8                                     Fax: 213-386-9484
                                       pschey@centerforhumanrights.org
 9
10
                                       Attorney for Plaintiffs
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 1                               CERTIFICATE OF SERVICE
 2                         CASE NO. CV 85-4544-DMG (AGRx)
 3
 4         I certify that on November 29, 2021, I served a copy of the foregoing
 5   pleading on all counsel of record by means of the District Court’s CM/ECF
 6   electronic filing system.
 7                                         /s/ Peter Schey
                                         PETER SCHEY
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